                         1    C
Fu                        4C ited
   rth T                      iv in
      er his                    13 F
        re d           A           04 is
                                             ch
          pr oc          rc             D
            od um          hi
                              ve          ec
                                                er
              uc e               d           id v F
                tio nt             o           ed o
                   n is              n             1       rre
                    is pr              1/            /1 s
                      pr ot               17            3/ t
                        oh ec                /1             17
                           ib te                7
                             ite d
                                d by
                                   w c
                                     ith op
                                        ou yr
                                           t p igh
                                                                 Case 1:14-cv-01304-PAE-AJP Document 140 Filed 01/13/17 Page 1 of 2




                                               er t.
                                                  m
                                                    is
                                                       si
                                                          on
                                                             .
                         1    C
Fu                        4C ited
   rth T                      iv in
      er his                    13 F
        re d           A           04 is
                                             ch
          pr oc          rc             D
            od um          hi
                              ve          ec
                                                er
              uc e               d           id v F
                tio nt             o           ed o
                   n is              n             1       rre
                    is pr              1/            /1 s
                      pr ot               17            3/ t
                        oh ec                /1             17
                           ib te                7
                             ite d
                                d by
                                   w c
                                     ith op
                                        ou yr
                                           t p igh
                                                                 Case 1:14-cv-01304-PAE-AJP Document 140 Filed 01/13/17 Page 2 of 2




                                               er t.
                                                  m
                                                    is
                                                       si
                                                          on
                                                             .
